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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   JON E. C., 1                                  Case No. EDCV 20-01257 PVC
12                       Plaintiff,
13          v.                                                 JUDGMENT
14
     KILOLO KIJAKAZI, 2
15   Acting Commissioner of Social Security,
16                       Defendant.
17
18         IT IS ADJUDGED that the decision of the Commissioner is AFFIRMED and that
19   the above-captioned action is dismissed with prejudice.
20
21   DATED: October 13, 2021
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23
                                               PEDRO V. CASTILLO
24                                             UNITED STATES MAGISTRATE JUDGE
25   1
      The Court partially redacts Plaintiff’s name in compliance with Federal Rule of Civil
     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
26   Administration and Case Management of the Judicial Conference of the United States.
27   2
      Kilolo Kijakazi, Acting Commissioner of the Social Security Administration, is
     substituted for her predecessor, originally named in the complaint. See 42 U.S.C.
28   § 405(g); Federal Rule of Civil Procedure 25(d).
